
Upon consideration of the petition filed on the 5th of December 2016 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of March 2017."
The following order has been entered on the motion filed on the 9th of December 2016 by Defendant for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 16th of March 2017."
Upon consideration of the petition filed by Defendant on the 9th of December 2016 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of March 2017."
